Case 1:20-cv-02205-UNA Document 4 Filed 10/01/20 Page 1 of 2

FILED

OCT —1 2020
UNITED STATES DISTRICT COURT

FOR THE DISTRICT OF COLUMBIA Clerk, U.S. District and
, Bankruptcy Courts

CONSUELO JORDAN,
Plaintiff,

Vv. Civil Action No. 20-2205 (UNA)

UNITED STATES. ef al.,

Defendants.

MEMORANDUM OPINION

This matter is before the Court on plaintiff's application to proceed in forma pauperis and

her pro se civil complaint. The application will be granted, and the complaint will be dismissed.

The Court has reviewed plaintiff's complaint, keeping in mind that complaints filed by
pro se litigants are held to less stringent standards than those applied to formal pleadings drafted
by lawyers. See Haines v. Kerner, 404 U.S. 519, 520 (1972). Even pro se litigants, however,
must comply with the Federal Rules of Civil Procedure. Jarrell v. Tisch, 656 F. Supp. 237, 239
(D.D.C. 1987). Rule 8(a) of the Federal Rules of Civil Procedure requires that a complaint
contain a short and plain statement of the grounds upon which the Court’s jurisdiction depends, a
short and plain statement of the claim showing that the pleader is entitled to relief, and a demand
for judgment for the relief the pleader seeks. Fed. R. Civ. P. 8(a). The purpose of the minimum

standard of Rule 8 is to give fair notice to the defendants of the claim being asserted, sufficient to

 

' Although the names of two plaintiffs appear in the caption of the Complaint (ECF No. 1). only
Consuelo Jordan signed the pleading and submitted an application to proceed in forma pauperis.
The Court deems Consuelo Jordan the sole plaintiff. She is proceeding pro se, and cannot
represent the interests of Carolyn Jordan. See 28 U.S.C. § 1654.
Case 1:20-cv-02205-UNA Document 4 Filed 10/01/20 Page 2 of 2

prepare a responsive answer, to prepare an adequate defense and to determine whether the

doctrine of res judicata applies. Brown v. Califano, 75 F.R.D. 497, 498 (D.D.C. 1977).

This complaint begins as if it brought employment discrimination claims against
plaintiff's former employer, the Court Services and Offender Supervision Agency for the District
of Columbia. See generally Compl. at 3-4 (page numbers designated by CM/ECF). The
following pages present, in rambling and disjointed form, claims pertaining to the misuse of a
District of Columbia government seal, discrimination based on age and race, threats to rape and
kill plaintiff, and dental of plaintiff's demand for pension benefits, among others. What the
complaint lacks, however, is a short and plain statement showing plaintiff's entitlement to the
relief she demands, an award of $138 million. For this reason, the complaint fails to meet the

pleading standard set forth in Rule 8(a) and must be dismissed.

An Order consistent with this Memorandum Opinion is issued separately.

DATE: September 30, 2020 /s/
RUDOLPH CONTRERAS
United States District Judge
